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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                       )
                                               )
    v.                                         )       USDC No. 21-cr-725-01 (RDM)
Jared Kastner,                 defendant.      )

                      MOTION TO MODIFY CONDITION OF RELEASE

       Defendant, through undersigned counsel Nathan I. Silver, II, Esq. (“counsel”), appointed

by this Court under the Criminal Justice Act, respectfully moves the Court to modify the

condition of release that restricts his ability to possess firearms during the pendency of this case.

The reasons follow.

       1. Defendant is charged in a four-count criminal information with misdemeanor offenses

the government alleges he committed on January 6, 2021, at the United States Capitol. Those

offenses are Entering and Remaining in a Restricted Building or Grounds; Disorderly and

Disruptive Conduct in a Restricted Building or Grounds; Disorderly Conduct in a Capitol

Building; and Parading, Demonstrating, or Picketing in a Capitol Buildings, violations of 18

U.S.C. §§ 1752(a)(1) and (a)(2), and 40 U.S.C. §§5104(e)(2)(D) and (e)(2)(G), respectively.

Defendant is charged with codefendant Luke Faulker, who is charged identically.

       2. Defendant was initially charged in the Southern District of Ohio (SDOH) and

presented there in a Rule 5 hearing on a criminal complaint, which alleged the same offenses.

Defendant was released on his own recognizance there, with no restriction on his ability to

possess firearms during release. While the case reposed in Ohio, defendant was supervised by

local Pretrial Services Officer Joshua Bohman.
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           3. Defendant appeared on Dec. 14, 2021, for his initial appearance in the instant case

before Mag. Judge Zia M. Faruqui. Judge Faruqui was charged with the responsibility of

determining, under 18 U.S. §3142(c)(1)(B)1, “the least restrictive further condition, or

combination of conditions, that…will reasonably assure the appearance of the person as required

and the safety of any other person and the community, which may include the condition that the

person…(k)(viii) refrain from possessing a firearm, destructive device or other dangerous

weapon…”

           4. The D.C. Pretrial Services Agency (“PSA”) recommended “General Supervision,”

including the condition that defendant not “possess a firearm, destructive devics (sic) or other

weapons” while on release. (Doc. 10, page 1) The government requested that the Court impose

that and other conditions PSA recommended. It is counsel’s understanding, and believes that this

was repeated during the initial appearance, that PSA recommends a no-possession condition for

defendants in January 6 cases because many of them reside elsewhere (other than the D.C.

metropolitan area) and receive “courtesy supervision” by pretrial officers (in some cases, U.S.

Probation) in other districts. The concern is that those officers might be making home visits and

could be endangered by entering a residence where firearms are found. There appears to be no

other stated purpose for the uniform restriction.

           4. Defendant opposed the imposition of that restriction. It is counsel’s recollection that

defendant represented that he lawfully owned firearms; that he had a valid “concealed carry”

license issued by the State of Ohio; that he was not a prohibited person under state or federal law,

that he had no criminal history; and that he served on security detail at his local church, where he



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    Pretrial Services recommended, and the government did not oppose, defendant’s release with conditions.
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was required to be armed during church services. The Court, after hearing from the parties and

PSA, granted the request that defendant “not possess a firearm, destructive device or other

weapon except as stated below”2 at his residence or in public areas, subject to the exception that

he be permitted to serve on the church’s security detail three times weekly (at one service on

Wednesdays and two services on Sundays). (Doc. 11, ¶7(t), page 3) The exception further

provides that defendant is allowed to use firearms that are kept securely at the church and

returned to storage after each time; may not remove the firearms from the premises of the

church; and must provide proof to the Southern District of Ohio within 72 hours of his lawful

ability to carry a firearm. (Id.) Defendant satisfied the last element the same day (Dec. 14,

2022), through his Ohio counsel, Lawrence J. Greger, by providing by email a copy of his

concealed carry permit to Mr. Bohman in Ohio and to Masharia Holman, a PSA officer here.

        5. Defendant, through counsel, raised this issue with the Court at the previous (and first)

status hearing in the case, held on Dec. 22, 2021, and advised he would be filing a motion.

Defendant sought and obtained, at the request of the government, the positions of the pretrial

services officers–Joshua Bohman, providing courtesy supervision in the Southern District of

Ohio and Katrina Stanford, providing nominal supervision in D.C.-- involved with the case. It

took some time to obtain this information, owing to vacation plans and then a later illness of Off.

Bohman. Defendant represents that Off. Bohman does not oppose the lifting of the restriction on

defendant’s possession of firearms during the pretrial period. He advises that there is likely little

need for home visits but should the need arise, he would advise defendant to store the firearms




2
 This appears in Doc. 11, “Order Setting Conditions of Release,” at page 2, “Additional Conditions of Release,”
¶7(k), filed Dec. 14, 2022.
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securely before he, Off. Bohman, visited the residence. He further advised that he feels he has a

good relationship with defendant.

       6. Defendant has learned through the government that PSA Off. Katrina Stanford takes

no position on defendant’s request to have the Court lift the restriction on firearms.

       7. The government has advised counsel that after consulting with its management, it

opposes the defendant’s motion, notwithstanding the lack of opposition from either pretrial

officer Bohman or Stanford.

       8. Defendant moves the Court to lift the restriction on his possession of firearms. The

Second Amendment to the Constitution, as interpreted by the U.S. Supreme Court in the case of

McDonald v. Chicago, 561 U.S. 742 (2010), relying in part on Heller v. District of Columbia,

554 U.S. 570 (2008), assures a private person’s right to possess firearms in states and localities.

That right may, of course, be subject to reasonable restrictions.

       9. Defendant contends that the restriction here is neither reasonable in or justified by

these circumstances. Defendant does not present any factors that would suggest he’s a danger to

others. He has no criminal record; he works at a U.S. Air Force base in Ohio; his background

has been vetted by Ohio authorities when he sought and received his concealed carry permit.

Further, he has no history of mental health problems or abusing alcohol, prescription or illegal

drugs. The charges he faces in the instant case are all non-violent misdemeanors. Allegations do

not include either assaults against persons or the vandalizing or destruction of property.

       10. Defendant submits that a blanket application in the January 6 set of cases of the

non-possession restriction violates a basic principle of our criminal justice system: to treat

defendants, and their cases, individually. Our system is not designed to, nor should it, treat
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defendants in bulk, without further discrimination. A restriction that infringes on a constitutional

right should not be considered a “standard condition” of pretrial release, certainly not without an

examination into both the need for the restriction and whether or not it is justified in the

circumstances, taking into account the nature of the case along with the defendant’s background.

It should also be pointed out that the defendant stands charged with these offenses but is

presumed innocent unless and until proven guilty.

       For the reasons stated above, defendant urges the Court to remove the restriction on the

possession of firearms during the pendency of this case.

        A proposed Order is attached.

       WHEREFORE, the defendant respectfully moves the Court to grant said relief.

                                        This pleading is,

                                      Respectfully submitted,

                                               /s/

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                               CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that a copy of the foregoing pleading has been served via ECF on
Monica Ann Stump, Esq., assistant U.S. Attorney for the District of Columbia, and Laura E. Hill,
Esq., U.S. Dept. of Justice - CIV, this 21st day of January, 2022.
                                               /s/
                                       _______________________________
                                       Nathan I. Silver, II
